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                                     CAUSE NO. 24-07-11639

 DUSTIN ETTER,                                     §        IN THE DISTRICT CLERK OF
                        Plaintiff                  §
                                                   §
 v.                                                §        MONTGOMERY COUNTY, TEXAS
                                                   §
 AE PARTNERS HOLDINGS, INC., AEP                   §
 ASSETS HOLDINGS, LLC, ALLIANCE                    §
 ENERGY PARTNERS, LLC, ALLIANCE                    §
 FARM & RANCH, LLC, CONNECT                        §
 REALTY.COM, INC., CORINA FURR,                    §
 JEROD P. FURR, HEAVEN LEE                         §
 PROPERTIES, LLC D/B/A LUX GROUP                   §
 TX, JEANA LEA HURLEY, INVICTIS                    §
 DRILLING MOTORS, LLC,                             §
                  Defendants.                      §        457TH JUDICIAL DISTRICT

                                    NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that Defendants Jerod Furr and Alliance Farm and Ranch, LLC, by and

through undersigned counsel, has set for submission their Motion to Expunge Notice of Lis Pendens on

May 23, 2025, at 9:00 A.M. before the 457th Judicial District Court of Montgomery County, Texas.

                                               Respectfully submitted,

                                               E-MERGER.LAW, PLLC


                                               By: /s/ Deborah L. Crain
                                                    Deborah L. Crain
                                                    Texas Bar No. 24067319
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                                                     Houston, Texas 77043
                                                     Telephone: (346) 535-0818

                                               ATTORNEY FOR DEFENDANTS
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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above pleading has been forwarded via
the court’s electronic filing system, facsimile and/or certified mail/return receipt requested on this
the 29th day of April, 2025.


                                               /s/ Deborah L. Crain
                                               Deborah L. Crain
